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                              THE STATE OF NEW HAMPSHIRE

HILLSBOROUGH, ss.                                                             SUPERIOR COURT
NORTHERN DISTRICT



                                Docket No. 216-2025-CV-00529

                                       ANDRE BISASOR,
                                             Plaintiff,

                                                v.

     CRAIG DONAIS, LAW OFFICES OF DONAIS, RUSSELL HILLIARD AND MARY
                                 DONAIS,
                                            Defendants.

      DEFENDANTS’ NOTICE TO STATE COURT FOR REMOVAL OF ACTION

        Defendants, Craig Donais, Law Offices of Donais, PLLC and Mary Donais, a corporation

authorized to do business in the State of New Hampshire, hereby files this Notice to State Court

of Removal of Action, stating as follows:

        To:    Clerk of the Hillsborough County Superior Court, Northern
               District, State of New Hampshire:

               You are hereby notified that Defendants, Craig Donais, Law Offices
               of Donais, PLLC (a corporation authorized to do business in the
               State of New Hampshire) and Mary Donais, on July 2, 2025, filed
               with the Clerk of the United States District Court for the District of
               New Hampshire, its Notice of Removal of the above-captioned
               action from this State Court to the Federal Court. A copy of the
               Notice of Removal is attached as “Exhibit A.” By filing this Notice,
               Defendants Craig Donais, Law Offices of Donais, PLLC and Mary
               Donais have effected a removal of this action to the United States
               District Court for the District of New Hampshire.

               Pursuant to 28 U.S.C. § 1446(d), this Court is prohibited from
               proceeding further in the above-captioned action unless and until the
               action is remanded.




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                                               Respectfully submitted,

                                               Craig Donais, Law Offices of Donais, Mary Donais

Dated: July 2, 2025                            MORRISON MAHONEY LLP

                                                       /s/ Linda M. Smith
                                              By:
                                                     Linda M. Smith, #265038
                                                     lsmith@morrisonmahoney.com
                                                     Edwin F. Landers, Jr., #17297
                                                     elanders@morrisonmahoney.com
                                                     Center of New Hampshire Office Tower
                                                     650 Elm Street, Suite 201
                                                     Manchester, NH 03101
                                                     Phone: 603-622-3400
                                                     Fax:      603-622-3466

                                CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was this day forwarded to all counsel via the Court’s
ECF system.



                                                      /s/ Linda M. Smith
                                                              Linda M. Smith




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